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                                                         - 592 -
                             Nebraska Court of Appeals Advance Sheets
                                  29 Nebraska Appellate Reports
                                                 STATE v. SAUFLEY
                                                Cite as 29 Neb. App. 592



                                        State of Nebraska, appellee, v.
                                          Joe K. Saufley, appellant.
                                                     ___ N.W.2d ___

                                          Filed March 16, 2021.    No. A-19-577.

                 1. Postconviction: Constitutional Law: Proof. An evidentiary hearing
                    on a motion for postconviction relief must be granted when the motion
                    contains factual allegations which, if proved, constitute an infringe-
                    ment of the movant’s rights under the Nebraska or federal Constitution.
                    However, if the motion alleges only conclusions of fact or law, or the
                    records and files in the case affirmatively show that the movant is
                    entitled to no relief, no evidentiary hearing is required.
                 2. Postconviction: Constitutional Law: Appeal and Error. In appeals
                    from postconviction proceedings, an appellate court reviews de novo
                    a determination that the defendant failed to allege sufficient facts to
                    demonstrate a violation of his or her constitutional rights or that the
                    record and files affirmatively show that the defendant is entitled to
                    no relief.
                 3. Postconviction: Constitutional Law. Postconviction relief is a very
                    narrow category of relief, available only to remedy prejudicial constitu-
                    tional violations that render the judgment void or voidable.
                 4. Postconviction: Appeal and Error. On appeal from the denial of
                    postconviction relief without an evidentiary hearing, the question is not
                    whether the movant was entitled to relief by having made the requisite
                    showing. Instead, it must be determined whether the allegations were
                    sufficient to grant an evidentiary hearing.
                 5. Postconviction. The allegations in a motion for postconviction relief
                    must be sufficiently specific for the district court to make a preliminary
                    determination as to whether an evidentiary hearing is justified.
                 6. Postconviction: Pleadings: Proof: Constitutional Law. In a proceed-
                    ing under the Nebraska Postconviction Act, the application is required
                    to allege facts which, if proved, constitute a violation or infringement
                    of constitutional rights, and the pleading of mere conclusions of fact
                                     - 593 -
           Nebraska Court of Appeals Advance Sheets
                29 Nebraska Appellate Reports
                              STATE v. SAUFLEY
                             Cite as 29 Neb. App. 592
      or of law is not sufficient to require the court to grant an eviden-
      tiary hearing.
 7.   Postconviction: Proof: Constitutional Law. An evidentiary hearing
      must be granted when the facts alleged, if proved, would justify relief,
      or when a factual dispute arises as to whether a constitutional right is
      being denied.
 8.   Postconviction: Effectiveness of Counsel: Proof: Appeal and Error.
      When a district court denies postconviction relief without conducting
      an evidentiary hearing, an appellate court must determine whether the
      petitioner has alleged facts that would support a claim of ineffective
      assistance of counsel and, if so, whether the files and records affirma-
      tively show that he or she is entitled to no relief.
 9.   Postconviction: Effectiveness of Counsel: Proof. If the petitioner for
      postconviction relief has not alleged facts which would support a claim
      of ineffective assistance of counsel or if the files and records affirma-
      tively show he or she is entitled to no relief, then no evidentiary hearing
      is necessary.
10.   Postconviction: Effectiveness of Counsel: Proof: Appeal and Error.
      In order to establish a right to postconviction relief based on a claim
      of ineffective assistance of counsel, the defendant has the burden, in
      accord­ance with Strickland v. Washington, 466 U.S. 668, 104 S. Ct.
      2052, 80 L. Ed. 2d 674 (1984), to show that counsel’s performance was
      deficient; that is, counsel’s performance did not equal that of a lawyer
      with ordinary training and skill in criminal law. Next, the defendant
      must show that counsel’s deficient performance prejudiced the defense
      in his or her case.
11.   Convictions: Effectiveness of Counsel: Pleas: Proof. When a convic-
      tion is based upon a guilty plea, the prejudice requirement for an inef-
      fective assistance of counsel claim is satisfied if the defendant shows a
      reasonable probability that but for the errors of counsel, the defendant
      would have insisted on going to trial rather than pleading guilty.
12.   Effectiveness of Counsel: Appeal and Error. The two prongs of the
      ineffective assistance of counsel test under Strickland v. Washington,
      466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984), deficient
      perform­ance and prejudice, may be addressed in either order.
13.   Effectiveness of Counsel: Presumptions: Appeal and Error. The
      entire ineffectiveness analysis is viewed with a strong presumption that
      counsel’s actions were reasonable.
14.   Trial: Pleas: Mental Competency. A person is competent to plead or
      stand trial if he or she has the capacity to understand the nature and
      object of the proceedings against him or her, to comprehend his or her
      own condition in reference to such proceedings, and to make a ratio-
      nal defense.
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          Nebraska Court of Appeals Advance Sheets
               29 Nebraska Appellate Reports
                            STATE v. SAUFLEY
                           Cite as 29 Neb. App. 592
15. ____: ____: ____. The test of mental capacity to plead is the same as
    that required to stand trial.
16. Mental Competency. Requiring that a defendant be competent has a
    modest aim: It seeks to ensure that he or she has the capacity to under-
    stand the proceedings and to assist counsel.
17. ____. A defendant can meet the modest aim of legal competency,
    despite paranoia, emotional disorders, unstable mental conditions, and
    suicidal tendencies.
18. ____. The fundamental question is whether the defendant’s mental dis-
    order or condition prevents the defendant from having the capacity to
    understand the nature and object of the proceedings, to comprehend the
    defendant’s own condition in reference to such proceedings, and to make
    a rational defense.
19. Effectiveness of Counsel: Mental Competency: Proof. In order to
    demonstrate prejudice from counsel’s failure to seek a competency
    hearing, the defendant must demonstrate that there is a reasonable prob-
    ability that he or she was, in fact, incompetent and that the trial court
    would have found the defendant incompetent had a competency hearing
    been conducted.
20. Postconviction: Appeal and Error. It is fundamental that a motion
    for postconviction relief cannot be used to secure review of issues
    which were known to the defendant and could have been litigated on
    direct appeal.
21. Postconviction: Mental Competency: Trial. There is no procedural
    bar in postconviction proceedings of issues relating to competency to
    stand trial.
22. Mental Competency. If facts are brought to the attention of the court
    which raise doubts about the competency of the defendant, the question
    of competency should be determined at that time.
23. Mental Competency: Trial: Convictions: Due Process: Appeal and
    Error. Appellate courts have recognized that two fundamental constitu-
    tional principles are implicated in a situation regarding the competency
    of the defendant. The first is that a conviction of a mentally incompetent
    accused is a violation of substantive due process, and the second is that
    due process requires that a hearing be held whenever there is evidence
    that raises a sufficient doubt about the mental competency of an accused
    to stand trial.
24. Pleas: Mental Competency: Right to Counsel: Waiver. A court is not
    required to make a competency determination in every case in which a
    defendant seeks to plead guilty or to waive his or her right to counsel; a
    competency determination is necessary only when a court has reason to
    doubt the defendant’s competence.
                                   - 595 -
          Nebraska Court of Appeals Advance Sheets
               29 Nebraska Appellate Reports
                            STATE v. SAUFLEY
                           Cite as 29 Neb. App. 592
25. Mental Competency. The “trigger” for a competency hearing under
    Nebraska law has been set forth as follows: If at any time while criminal
    proceedings are pending, facts are brought to the attention of the court,
    either from its own observation or from suggestion of counsel, which
    raise a doubt as to the sanity of the defendant, the question should be
    settled before further steps are taken.
26. ____. Although a hearing on the issue of competency is sometimes said
    to be obligatory, if a reasonable doubt is raised, the doubt referred to
    is a doubt arising in the mind of the trial judge, as distinguished from
    uncertainty in the mind of any other person.

  Appeal from the District Court for Dixon County: Paul J.
Vaughan, Judge. Affirmed.
  Luke P. Henderson, of Fitzgerald, Vetter, Temple, Bartell &amp;
Henderson, for appellant.
  Douglas J. Peterson, Attorney General, and Melissa R.
Vincent for appellee.
   Pirtle, Bishop, and Welch, Judges.
   Pirtle, Judge.
                     INTRODUCTION
  Joe K. Saufley appeals the order of the district court for
Dixon County denying his motion for postconviction relief
without an evidentiary hearing. For the reasons that follow,
we affirm.
                        BACKGROUND
   Saufley assaulted his estranged wife in Emerson, Nebraska,
on May 7, 2017. The victim was badly injured and was trans-
ported by ambulance to a medical center in Omaha, Nebraska,
where she remained for a week for treatment of facial frac-
tures, multiple contusions, an anal tear, and broken teeth.
   On July 3, 2017, Saufley was charged in Dixon County
District Court with first degree assault, a Class II felony; first
degree sexual assault, a Class II felony; strangulation causing
serious bodily injury, a Class IIA felony; first degree domes-
tic assault, a Class IIA felony; and disturbing the peace, a
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                        STATE v. SAUFLEY
                       Cite as 29 Neb. App. 592
Class III misdemeanor. Saufley entered pleas of not guilty to
all counts.
   On November 13, 2017, Saufley appeared at a change of
plea hearing with his court-appointed counsel. Saufley’s coun-
sel advised the court that although the parties had reached a
plea agreement, Saufley had decided he wanted to plead guilty
to all five counts as originally charged. Saufley’s counsel fur-
ther explained:
      Your honor, if I may, there was a plea agreement in this
      matter that I had spoke with . . . Saufley previously,
      reviewed that with him on two different occasions. During
      my speaking with him we went over a number of issues,
      including the plea agreement and possible penalties.
         He has informed me today that he does not want to
      enter the plea agreement as it is written; his desire is to
      plead guilty to all five counts without the plea agree-
      ment. It’s something we’ve talked about in the past and
      discussed before, but that’s his wish today is to proceed
      in that manner, not entering a plea agreement to the three
      counts that were contemplated, but to all five counts in
      the current Information.
         So I think we’re ready to proceed to do that instead of
      the plea agreement, his desire is to plead guilty to all five
      of the counts at this time.
The court confirmed Saufley’s understanding of the plea agree-
ment the State had offered, and it then questioned him about
his decision to withdraw his not guilty pleas and enter guilty
pleas to all five counts in the original information. Saufley
confirmed that he wanted to enter guilty pleas rather than
proceed under the plea agreement. Saufley also indicated that
he had enough time to visit with counsel about the option of
the plea agreement versus pleading to the straight charges. He
indicated that he wanted to withdraw his previously entered
not guilty pleas to the charges and that he was doing so freely
and voluntarily. The court granted his request to withdraw his
not guilty pleas.
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                       STATE v. SAUFLEY
                      Cite as 29 Neb. App. 592
   The court then advised Saufley of the nature of the charges
and the possible penalties, as well as the rights he would
be giving up by pleading guilty. Saufley stated he under-
stood. Saufley’s counsel also stated that he had discussed with
Saufley the rights he would be giving up; that counsel believed
Saufley understood his rights and the consequences of waiving
them; and that Saufley was waiving them freely, voluntarily,
knowingly, and intelligently.
   Upon further inquiry by the court, Saufley acknowledged
that his counsel explained the charges against him in the infor-
mation, that he discussed with his counsel all of the facts as he
believed them to be and any defenses he thought he might have
to the charges, and that there were no defenses he thought he
might have that he had not talked over with counsel.
   Saufley also indicated that he was satisfied with the job his
counsel had done for him; that his counsel was competent and
knew what he was doing; that Saufley understood that his plea
of guilty, if accepted by the court, waived any defenses he
might have to the charges; and that no one connected to law
enforcement or anyone else had made any threats, used any
force, or made any promises to get him to plead guilty.
   The State then provided a factual basis for Saufley’s pleas.
Following the factual basis, Saufley confirmed he still wished
to plead guilty. Counsel stated that he believed Saufley was
making the plea freely, voluntarily, knowingly, and intel-
ligently and that he did not know of any reason the court
should not accept Saufley’s guilty pleas. The court found
beyond a reasonable doubt that there was a factual basis for
the pleas, that Saufley fully understood his rights, and that he
freely and voluntarily waived them. It further found that he
understood the nature of the charges against him, the conse-
quences of his pleas, and the penalties that could be imposed.
The court concluded that his pleas were made freely, volun-
tarily, knowingly, and intelligently, and it accepted his pleas
of guilty and found him guilty of all five counts charged in
the information.
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                        STATE v. SAUFLEY
                       Cite as 29 Neb. App. 592
   A sentencing hearing was subsequently held. When the court
asked Saufley if he had anything to say, he said:
      On the night I committed my crime I was homeless for
      about a couple weeks, and prior to that I tried getting
      help for my anger management. I have no prior history
      for criminal violence, or being a druggie or anything like
      that. I’m not trying to make any excuses for anything.
          I wish [the victim] were here, I really do, so I could
      ask her why she felt the need to set things up the way
      they were that night, made me believe that my life was in
      danger when it wasn’t. A lot of things went wrong on my
      behalf, a lot of things that I’ve done, but if she were here
      right now I would tell her that I was sorry and that I take
      full responsibility for my actions. That’s all I got to say.
   The court then asked whether Saufley or anyone else had
any reason why sentence should not be imposed, and Saufley’s
counsel indicated that he did not. The court imposed five sen-
tences to run concurrently which would require him to serve a
minimum of 15 years, less credit for 295 days served prior to
sentencing, and a maximum of 20 years before he would be
eligible for total discharge.
   Saufley did not file a direct appeal. He later filed a motion
for postconviction relief, alleging that he was not competent to
enter his pleas or to be sentenced and that his counsel and the
court violated his constitutional rights by failing to recognize
that fact. Saufley also alleged that his counsel was ineffec-
tive for advising him not to file a direct appeal. We note that
Saufley’s motion for postconviction relief was filed pro se,
that it is handwritten and hard to read, and that it is difficult to
decipher what is being alleged and argued in the motion. The
district court denied Saufley’s motion for postconviction relief
without an evidentiary hearing, finding Saufley’s claims were
either insufficiently pled or affirmatively refuted by the record.
This appeal followed.
                               - 599 -
        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                        STATE v. SAUFLEY
                       Cite as 29 Neb. App. 592
                 ASSIGNMENTS OF ERROR
   Saufley assigns, consolidated and restated, that the district
court erred in denying him an evidentiary hearing on the fol-
lowing issues raised in his motion for postconviction relief:
that his trial counsel was ineffective in failing to investigate
his competency and request a competency hearing and that his
trial counsel was ineffective in advising him not to file a direct
appeal. He also assigns that the district court erred in failing
to hold a competency hearing when there was reason to doubt
his competency.
                   STANDARD OF REVIEW
   [1] An evidentiary hearing on a motion for postconvic-
tion relief must be granted when the motion contains factual
allegations which, if proved, constitute an infringement of the
movant’s rights under the Nebraska or federal Constitution.
However, if the motion alleges only conclusions of fact or
law, or the records and files in the case affirmatively show
that the movant is entitled to no relief, no evidentiary hearing
is required. State v. Armendariz, 289 Neb. 896, 857 N.W.2d
775 (2015).
   [2] In appeals from postconviction proceedings, an appel-
late court reviews de novo a determination that the defendant
failed to allege sufficient facts to demonstrate a violation of his
or her constitutional rights or that the record and files affirma-
tively show that the defendant is entitled to no relief. State v.
Martinez, 302 Neb. 526, 924 N.W.2d 295 (2019).
                           ANALYSIS
   [3,4] Postconviction relief is a very narrow category of
relief, available only to remedy prejudicial constitutional vio-
lations that render the judgment void or voidable. State v.
Haynes, 299 Neb. 249, 908 N.W.2d 40 (2018), disapproved
on other grounds, State v. Allen, 301 Neb. 560, 919 N.W.2d
500 (2018). On appeal from the denial of postconviction relief
without an evidentiary hearing, the question is not whether
the movant was entitled to relief by having made the requisite
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                        STATE v. SAUFLEY
                       Cite as 29 Neb. App. 592
showing. Instead, it must be determined whether the allega-
tions were sufficient to grant an evidentiary hearing. Id.   [5-7] The allegations in a motion for postconviction relief
must be sufficiently specific for the district court to make a pre-
liminary determination as to whether an evidentiary hearing is
justified. Id. In a proceeding under the Nebraska Postconviction
Act, the application is required to allege facts which, if proved,
constitute a violation or infringement of constitutional rights,
and the pleading of mere conclusions of fact or of law is not
sufficient to require the court to grant an evidentiary hearing.
State v. Haynes, supra. An evidentiary hearing must be granted
when the facts alleged, if proved, would justify relief, or when
a factual dispute arises as to whether a constitutional right is
being denied. Id.   [8,9] When a district court denies postconviction relief with-
out conducting an evidentiary hearing, an appellate court must
determine whether the petitioner has alleged facts that would
support a claim of ineffective assistance of counsel and, if
so, whether the files and records affirmatively show that he
or she is entitled to no relief. State v. Robertson, 294 Neb.
29, 881 N.W.2d 864 (2016). If the petitioner for postconvic-
tion relief has not alleged facts which would support a claim
of ineffective assistance of counsel or if the files and records
affirmatively show he or she is entitled to no relief, then no
evidentiary hearing is necessary. Id.   [10-13] In order to establish a right to postconviction relief
based on a claim of ineffective assistance of counsel, the
defendant has the burden, in accordance with Strickland v.
Washington, 466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d
674 (1984), to show that counsel’s performance was defi-
cient; that is, counsel’s performance did not equal that of a
lawyer with ordinary training and skill in criminal law. State
v. Armendariz, 289 Neb. 896, 857 N.W.2d 775 (2015). Next,
the defendant must show that counsel’s deficient performance
prejudiced the defense in his or her case. Id. When a convic-
tion is based upon a guilty plea, the prejudice requirement
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                       STATE v. SAUFLEY
                      Cite as 29 Neb. App. 592
for an ineffective assistance of counsel claim is satisfied if
the defendant shows a reasonable probability that but for the
errors of counsel, the defendant would have insisted on going
to trial rather than pleading guilty. Id. The two prongs of this
test, deficient performance and prejudice, may be addressed in
either order. Id. The entire ineffectiveness analysis is viewed
with a strong presumption that counsel’s actions were reason-
able. Id.Ineffective Assistance of
Counsel—Competency.
   Saufley first alleges the district court erred in denying him
an evidentiary hearing on his claim that his trial counsel was
ineffective in failing to investigate his competency and to
request a competency hearing. Saufley seems to argue that only
someone who is clearly incompetent would reject a plea agree-
ment and enter guilty pleas to five serious crimes. Saufley sug-
gests that fact alone gave his trial counsel reason to doubt his
competency, thereby necessitating a competency hearing.
   [14-18] A person is competent to plead or stand trial if he
or she has the capacity to understand the nature and object of
the proceedings against him or her, to comprehend his or her
own condition in reference to such proceedings, and to make
a rational defense. State v. Vo, 279 Neb. 964, 783 N.W.2d 416(2010). The test of mental capacity to plead is the same as that
required to stand trial. Id. Requiring that a defendant be com-
petent has a modest aim: It seeks to ensure that he or she has
the capacity to understand the proceedings and to assist coun-
sel. State v. Hessler, 282 Neb. 935, 807 N.W.2d 504 (2011).
A defendant can meet the modest aim of legal competency,
despite paranoia, emotional disorders, unstable mental condi-
tions, and suicidal tendencies. Id. The fundamental question is
whether the defendant’s mental disorder or condition prevents
the defendant from having the capacity to understand the nature
and object of the proceedings, to comprehend the defendant’s
own condition in reference to such proceedings, and to make a
rational defense. Id.                              - 602 -
        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                       STATE v. SAUFLEY
                      Cite as 29 Neb. App. 592
   [19] In order to demonstrate prejudice from counsel’s failure
to seek a competency hearing, the defendant must demonstrate
that there is a reasonable probability that he or she was, in
fact, incompetent and that the trial court would have found the
defendant incompetent had a competency hearing been con-
ducted. State v. Baker, 286 Neb. 524, 837 N.W.2d 91 (2013).
   We conclude that Saufley’s motion for postconviction relief
fails to allege sufficient facts that would support a claim of
ineffective assistance of counsel in regard to his competency.
In regard to the ineffective assistance of counsel claim based
on his alleged incompetency, Saufley alleged that:
      [He] seeks to withdraw all guilty pleas in this cause of
      action claiming undefined incompetence to stand trial
      . . . . And due to major depression [he] turned down
      [trial counsel’s] and [the] Prosecutor’s proffered Plea
      Bargain which may have dismissed some counts of the
      Information he pled guilty to and/or reduced the penal-
      ties further at his sentencing hearing — but for his major
      depression . . . he would NOT have pled guilty to all
      charges as charged. . . .
         ....
         . . . Saufley, alleges that [his trial counsel] knew or
      should have known all of the above . . . . Therefore he
      was allegedly ineffective . . . .
Saufley’s motion alleges he was incompetent at the time he
entered his pleas because of his “major depression” and that
his counsel knew or should have known that he suffered from
major depression at the time of the plea hearing. Such alle-
gation alone is insufficient to support a claim that counsel
was ineffective for failing to request a competency hearing.
Saufley did not make any specific allegations explaining how
his depression prevented him from understanding the pro-
ceedings or affected his decision to plead to all five charges.
Further, he does not allege any facts showing that his trial
counsel had reason to doubt his competency at the time of
the plea hearing. Without such factual allegations, Saufley’s
motion fails to demonstrate a reasonable probability that he
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                       STATE v. SAUFLEY
                      Cite as 29 Neb. App. 592
was, in fact, incompetent and that the district court would
have found him incompetent had a competency hearing been
conducted. As a result, the district court did not err in denying
Saufley an evidentiary hearing based on his allegation that his
trial counsel was ineffective in failing to request a compe-
tency hearing.
Ineffective Assistance of
Counsel—Direct Appeal.
   Saufley next claims that the facts alleged in his postconvic-
tion motion were sufficient to grant him an evidentiary hear-
ing in regard to his claim that trial counsel was ineffective in
advising him to not file a direct appeal. The district court did
not address this claim specifically, but, rather, it found that
Saufley’s claims were either refuted by the record or were mere
conclusions of fact or law.
   Saufley’s postconviction motion simply alleges that his
counsel advised him to not appeal his convictions. He fails
to allege how counsel’s performance was deficient or how he
was prejudiced by counsel’s advice. He does not allege that
he wanted to appeal or that he told his counsel to appeal. He
also does not allege what errors he would have raised on direct
appeal or why he believed an appeal could have been suc-
cessful. Accordingly, we conclude that Saufley’s motion fails
to set forth sufficient facts to support his claim that counsel
was ineffective by advising against a direct appeal. Because
Saufley’s motion does not contain factual allegations which,
if proved, establish that he was denied effective assistance of
counsel, an evidentiary hearing was not warranted. See State v.
Armendariz, 289 Neb. 896, 857 N.W.2d 775 (2015).
Failure of District Court to Order
Competency Hearing.
   [20,21] Saufley also assigns that the district court erred in
failing to hold a competency hearing sua sponte after reason-
able doubt was raised regarding his competency. This is a
claim that could have been brought on direct appeal had there
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        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                        STATE v. SAUFLEY
                       Cite as 29 Neb. App. 592
been one, and such claims are generally barred on a motion for
postconviction relief. It is fundamental that a motion for post-
conviction relief cannot be used to secure review of issues which
were known to the defendant and could have been litigated on
direct appeal. State v. Watkins, 284 Neb. 742, 825 N.W.2d 403(2012). However, this court has concluded that there is no
procedural bar in postconviction proceedings of issues relat-
ing to competency to stand trial. See State v. Johnson, 4 Neb.
App. 776, 551 N.W.2d 742 (1996). Accordingly, Saufley’s final
assignment of error is not barred.
   [22,23] If facts are brought to the attention of the court
which raise doubts about the competency of the defendant,
the question of competency should be determined at that time.
State v. Griffin, 20 Neb. App. 348, 823 N.W.2d 471 (2012). We
have recognized that two fundamental constitutional principles
are implicated in such a situation. The first is that a conviction
of a mentally incompetent accused is a violation of substan-
tive due process, and the second is that due process requires
that a hearing be held whenever there is evidence that raises a
sufficient doubt about the mental competency of an accused to
stand trial. Id., citing State v. Johnson, supra.   [24-26] A court is not required to make a competency deter-
mination in every case in which a defendant seeks to plead
guilty or to waive his or her right to counsel; a competency
determination is necessary only when a court has reason to
doubt the defendant’s competence. State v. Vo, 279 Neb. 964,
783 N.W.2d 416 (2010). The “trigger” for a competency hear-
ing under Nebraska law has been set forth as follows: If at any
time while criminal proceedings are pending, facts are brought
to the attention of the court, either from its own observation
or from suggestion of counsel, which raise a doubt as to the
sanity of the defendant, the question should be settled before
further steps are taken. State v. Johnson, supra. “‘However,
although a hearing on the issue is sometimes said to be obliga-
tory, if a reasonable doubt is raised, the doubt referred to is a
doubt arising in the mind of the trial judge, as distinguished
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                       STATE v. SAUFLEY
                      Cite as 29 Neb. App. 592
from uncertainty in the mind of any other person.’” Id. at 793-
94, 551 N.W.2d at 754, quoting State v. Cortez, 191 Neb. 800,
218 N.W.2d 217 (1974).
   In the present case, the record shows that Saufley responded
logically to the questions asked by the court and understood the
proceedings and the consequences of going forward with his
guilty pleas. At the start of the plea hearing, Saufley’s counsel
explained to the court that he had discussed the plea agreement
with Saufley on more than one occasion and that Saufley had
decided to reject the plea agreement and plead guilty to all
five charges. The court confirmed Saufley’s understanding of
the plea agreement, and Saufley indicated it was his decision
to withdraw his previously entered not guilty pleas and enter
guilty pleas rather than accept the plea agreement. Saufley
stated he had enough time to talk with counsel about the plea
agreement versus pleading guilty. The court advised Saufley
of the charges, the possible penalties, and the rights he was
giving up by pleading guilty. Saufley indicated that he under-
stood what the court had explained to him. Saufley’s counsel
also stated that he believed Saufley understood his rights and
was waiving them freely, voluntarily, knowingly, and intel-
ligently. Saufley further acknowledged that he had discussed
with counsel the facts of the case as he believed them to be, as
well as any defenses he thought he might have to the charges.
Following the factual basis, Saufley confirmed that he still
wanted to plead guilty.
   The record also shows that Saufley understood what was
happening at the sentencing hearing. When asked if he had
anything to say, Saufley told the court he was not trying to
make excuses for the crimes he committed and that he wished
the victim were present so he could tell her he was sorry and
that he took full responsibility for his actions. Saufley’s coun-
sel indicated there was no reason why sentence should not
be imposed.
   There was some information in the presentence investiga-
tion report related to possible signs of Saufley’s incompetence.
                              - 606 -
        Nebraska Court of Appeals Advance Sheets
             29 Nebraska Appellate Reports
                       STATE v. SAUFLEY
                      Cite as 29 Neb. App. 592
There was information that Saufley claimed he had attempted
suicide on more than one occasion since the incident occurred.
A mental health screening also indicated that he could benefit
from a mental health assessment. There was also information
in the presentence investigation report which indicates Saufley
tried to seek mental health services for his anger control issues
in the weeks prior to the offenses. In contrast, the risk assess-
ment report stated that Saufley has no history of being psychi-
atrically hospitalized or being prescribed psychotropic medica-
tions. The investigation further noted Saufley had no history of
mental health services as an adult. While this information from
the presentence investigation report is relevant in determining
if the district court should have held a competency hearing,
we conclude it did not create reasonable doubt as to Saufley’s
competency at the time he was sentenced.
   Based on the record, there was no reason to doubt Saufley’s
competence at either the plea hearing or the sentencing hear-
ing. Saufley appeared to understand the information given, and
during questioning by the court, his answers were appropriate.
There was no indication that he did not understand or was
confused by what was happening at either hearing. The record
shows that Saufley had the present capacity to understand the
nature and object of the proceedings against him, to compre-
hend his own condition in reference to such proceedings, and
to make a rational defense. See State v. Vo, 279 Neb. 964, 783
N.W.2d 416 (2010).
   Because the record refutes that the court had any reason to
believe Saufley was incompetent at the time he entered his
pleas and was sentenced, the court did not err in failing to hold
a competency hearing.
                        CONCLUSION
   We affirm the district court’s dismissal of Saufley’s motion
for postconviction relief without an evidentiary hearing.
                                                    Affirmed.
